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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF OKLAHOMA
                                                                            )
               UNITED STATES OF AMERICA                                     )    AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                            )
                                                                            )
                                  v.                                        )
                 JOSE ADRIAN HERMOSILLO                                     )   Case Number: CR-24-00362-001-SLP
                       a/k/a Scrappy Loc                                    )   USM Number: 29921-511
Date of Original Judgment: March 24, 2025                                   )   Craig M. Hoehns
                                       (Or Date of Last Amended Judgment)   )   Defendant’s Attorney



THE DEFENDANT:
    pleaded guilty to count(s)     1 of the Indictment.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                           Offense Ended             Count
18 U.S.C. §§ 933(a)(1),          Trafficking Firearms                                                         08/09/2024                 1
933(b)



       The defendant is sentenced as provided in pages 2 through                 7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)     2-8 and 10 of the Indictment, as to the defendant,             is         are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 March 25, 2025
                                                                                 Date of Imposition of Judgment




                                                                                 March 25, 2025
                                                                                 Date Signed
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                       Judgment — Page       2   of   7
DEFENDANT:                   Jose Adrian Hermosillo; a/k/a Scrappy Loc
CASE NUMBER:                 CR-24-00362-001-SLP

                                                              IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
168 months.

       The court makes the following recommendations to the Bureau of Prisons:
       It is recommended the defendant participate in the Federal Bureau of Prisons Inmate Financial Responsibility Program at a rate
       determined by Bureau of Prisons staff in accordance with the program.

       If eligible, it is recommended that the defendant participate in the Residential Drug Abuse Program while incarcerated.

       If eligible, it is recommended that the defendant be designated to FCI Texarkana.
       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
              at                                           a.m.          p.m.       on                                   .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                              .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                              to

at                                                         with a certified copy of this judgment.




                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
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 AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                      Sheet 3 — Supervised Release

                                                                                                     Judgment—Page      3     of        7
 DEFENDANT:                 Jose Adrian Hermosillo; a/k/a Scrappy Loc
 CASE NUMBER:               CR-24-00362-001-SLP

                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:      3 years.




                                                    MANDATORY CONDITIONS
 1. You must not commit another federal, state or local crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
    imprisonment and at least two periodic drug tests thereafter, not to exceed eight (8) drug tests per month.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check if applicable)
4.      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check if applicable)
5.      You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.      You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 3A — Supervised Release

                                                                                                       Judgment—Page    4       of   7
DEFENDANT:                    Jose Adrian Hermosillo; a/k/a Scrappy Loc
CASE NUMBER:                  CR-24-00362-001-SLP

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. Stricken.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                    Date
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 3D — Supervised Release

                                                                                                    Judgment—Page      5      of        7
DEFENDANT:                 Jose Adrian Hermosillo; a/k/a Scrappy Loc
CASE NUMBER:               CR-24-00362-001-SLP

                                        SPECIAL CONDITIONS OF SUPERVISION

The defendant must submit to a search of his person, property, electronic devices or any automobile under his control to be conducted in a
reasonable manner and at a reasonable time, for the purpose of determining possession, or evidence of possession, of firearms, controlled
substances, drug paraphernalia, or tools of graffiti/tagging activity at the direction of the probation officer upon reasonable suspicion.
Further, the defendant must inform any residents that the premises may be subject to a search.

The defendant shall participate in a program of substance abuse aftercare at the direction of the probation officer to include urine, breath,
or sweat patch testing, and outpatient treatment. The defendant shall actively participate in the treatment program until successfully
discharged from the program or until the probation officer has excused the defendant from the program. The defendant shall totally
abstain from the use of alcohol and other intoxicants. The defendant shall not frequent bars, clubs, or other establishments where alcohol
is the main business. The defendant shall contribute to the cost of services rendered (copayment) in an amount to be determined by the
probation officer based on the defendant’s ability to pay.

The defendant shall participate in a program of mental health aftercare at the direction of the probation officer. The court may order that
the defendant contribute to the cost of services rendered (copayment) in an amount to be determined by the probation officer based on the
defendant’s ability to pay.

The defendant shall not enter, frequent, or be involved with any legal or illegal gambling establishment, Internet gambling, Indian gaming
or off-shore gambling, or activity during the period of supervision. The defendant shall participate in a program for the treatment of
gambling addiction at the direction of the probation officer. The defendant may be required to contribute to the cost of services
(copayment) in an amount to be determined by the probation officer, based on the defendant’s ability to pay.

The defendant shall not associate with any known gang members, including but not limited to, members of the South Side Locos gang;
however, some contact may be permitted at the discretion of the U.S. Probation Office (e.g., family members).
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penalties                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                 Judgment — Page     6       of            7
DEFENDANT:              Jose Adrian Hermosillo; a/k/a Scrappy Loc
CASE NUMBER:            CR-24-00362-001-SLP
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                Restitution             Fine                   AVAA Assessment*              JVTA Assessment**
TOTALS           $ 100.00                  $ 0.00                   $ 0.00                $ 0.00                         $ 0.00

    The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss***                     Restitution Ordered                    Priority or Percentage




TOTALS                             $                                   $


    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
         the interest requirement is waived for              fine     restitution.

         the interest requirement for the            fine           restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                                             Judgment — Page      7      of          7
DEFENDANT:                Jose Adrian Hermosillo; a/k/a Scrappy Loc
CASE NUMBER:              CR-24-00362-001-SLP

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A          Lump sum payment of $ 100.00                         due immediately, balance due

               not later than                                       , or
               in accordance with         C,           D,            E, or        F below; or

B          Payment to begin immediately (may be combined with                C,          D, or           F below); or

C          Payment in equal                  (e.g., weekly, monthly, quarterly) installments of                          over a period of
                      (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of                        over a period of
                       (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
           If restitution is not paid immediately, the defendant shall make payments of 10% of the defendant’s quarterly earnings during the
           term of imprisonment.

           After release from confinement, if restitution is not paid immediately, the defendant shall make payments of the greater of $ per
           month or 10% of defendant’s gross monthly income, as directed by the probation officer. Payments are to commence not later
           than 30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, shall be paid through the United States Court Clerk for the Western District of Oklahoma, 200
N.W. 4th Street, Room 1210, Oklahoma City, Oklahoma 73102.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                   Joint and Several                  Corresponding Payee,
      (including defendant number)                         Total Amount                      Amount                            if appropriate.


      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:
      All right, title and interest in the assets listed in the Preliminary Order of Forfeiture dated _________ (Doc. No. ____).


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
